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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 12-cr-00169MCE
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
     ERIC ROBINSON,                     )
15
                                        ) Date: 2-19-2015
16                    Defendant.        ) Time: 9:00 a.m.
     ________________________________) Judge: Hon. Morrisson C. England
17

18                  Plaintiff United States of America, by and through its counsel of record,

19   and defendant Eric Robinson, by and through his counsel of record, hereby stipulate as
20
     follows:
21
           1.       By previous order, this matter was set for status January 29, 2015.
22

23         2.       By this stipulation, defendant now moves to continue the status
24
     conference until February 19, 2015, and to exclude time between January 29, 2015 and
25
     February 19, 2015, under Local Code T4. Plaintiff does not oppose this request.
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27         3.       The parties agree and stipulate, and request that the Court find the
28   following:


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 1          a.       The government has represented that the discovery associated with this
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     case includes approximately 1, 952 pages of investigative reports and related documents
 3
     in electronic form and many hours of recorded telephone calls. All of this discovery has
 4

 5   been either produced directly to counsel and / or made available for inspection and
 6
     copying.
 7
            b.       Counsel for defendant desires additional time to complete the review of
 8

 9   discovery, to conduct defense investigation, and to discuss potential resolution with her
10
     client. Counsel has also been continuing to engage in negotiations with the government.
11
     In particular, Mr. Robinson has a current pending matter in Solana County that the
12

13   government and counsel are attempting to negotiate a global resolution. Negotiations

14   with the county prosecutor and the government are ongoing.
15
            c.       Counsel for defendant believes that failure to grant the above-requested
16
     continuance would deny her the reasonable time necessary for effective preparation,
17

18   taking into account the exercise of due diligence.
19
            d.       The government does not object to the continuance.
20
            e.       Based on the above-stated findings, the ends of justice served by
21

22   continuing the case as requested outweigh the interest of the public and the defendant in

23   a trial within the original date prescribed by the Speedy Trial Act.
24
            f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
25

26
     § 3161, et seq., within which trial must commence, the time period of January 29, 2015

27   to February 19, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§
28
     3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance granted by


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 1   the Court at defendant’s request on the basis of the Court's finding that the ends of
 2
     justice served by taking such action outweigh the best interest of the public and the
 3
     defendant in a speedy trial.
 4

 5          4.     Nothing in this stipulation and order shall preclude a finding that other
 6
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 7
     from the period within which a trial must commence.
 8

 9   IT IS SO STIPULATED.

10

11   Dated: January 28, 2015                         Respectfully submitted,
12
                                                     /s/ Kelly Babineau
13                                                   KELLY BABINEAU
14
                                                     Attorney for Eric Robinson

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16
     Dated: January 28, 2015                         /s/ Jason Hitt
17                                                   Kelly Babineau for:
                                                     JASON HITT
18
                                                     Assistant U.S. Attorney
19

20                                         ORDER
21
            IT IS SO FOUND AND ORDERED.
22

23   Dated: February 2, 2015
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